Case 8:17-cv-01522-VMC-MAP Document 29 Filed 12/19/17 Page 1 of 2 PageID 133




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

   ROPER TECHNOLOGIES, INC.,

         Plaintiff,

   v.                                   Case No.: 8:17-cv-1522-T-33MAP

   ANTHONY LYSENKO,

        Defendant.
   _____________________________/

                          ORDER APPOINTING MEDIATOR

         Pursuant to the Notice of Mediation (Doc. # 27), filed

   on   December    18,   2017,   and   in   accordance   with   the   rules

   governing mediation set forth in Chapter Nine of the Rules of

   the United States District Court for the Middle District of

   Florida, it is ORDERED that the following individual is hereby

   APPOINTED by the Court to serve as Mediator in this action:

         Name of Mediator:        Peter J. Grilli.

         Address:                 3001 West Azeele St.

         Telephone:               (813) 874-1002

         By agreement of the parties, the mediation conference is

   scheduled for July 9, 2018, at 10:00 a.m. at the location

   listed above.

         The parties are directed to mediate in good faith and to

   fully and faithfully explore every settlement opportunity.



                                        1
Case 8:17-cv-01522-VMC-MAP Document 29 Filed 12/19/17 Page 2 of 2 PageID 134




   Furthermore, the Court directs that all counsel, parties,

   corporate     representatives,    and   any   other   required   claims

   professionals shall be present at the mediation conference

   with full authority to negotiate a settlement. The Court does

   not   allow    mediation   by    telephone    or   video   conference.

   Personal attendance is required. See Local Rule 9.05(c).

         DONE and ORDERED in Tampa, Florida, this 19th day of

   December, 2017.




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